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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
       v.                                      :       Criminal No. 1:21-cr-204
                                               :
MATTHEW BLEDSOE,                               :       Honorable Chief Judge Beryl A. Howell
                                               :
                       Defendant.              :

           JOINT STATUS REPORT OF DEFENDANT BLEDSOE’S PLEA OFFER

       In response to the Court’s January 18, 2022 Minute Order, the United States and Defendant

Matthew Bledsoe submit this joint status report. The government has made one plea offer to

Defendant Bledsoe. Defendant Bledsoe rejected the plea offer on January 31, 2022.

       Since the rejection of the plea offer, the government and counsel for Defendant Bledsoe

have conferred. Defendant Bledsoe anticipates filing multiple pre-trial motions. To allow time for

the briefing and decision on the pretrial motions, the parties respectfully request a trial in August

of 2022.

       The parties respectfully propose the following schedule:

            •   Pretrial motions to be filed on or before April 1, 2022;

            •   Responses to pretrial motions to be filed on or before April 22, 2022;

            •   Reply to pretrial motions to be filed on or before April 29, 2022;

            •   Trial to begin on any date in the month of August 2022;

            •   All other dates in accordance with this Court’s Standing Order for Criminal Cases

                (Dkt. 27)

       The parties further request that the time between the February 4, 2022 status conference

and the trial date be excluded from the speedy trial clock calculation in this case in the interests of
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justice to allow for the effective preparation for trial.

                                                        Respectfully submitted,

                                                        MATTHEW GRAVES
                                                        United States Attorney
                                                        DC Bar No. 481052


 /s/ Mitra Jafary-Hariri                     /s/ Jerry Ray Smith, Jr. (with consent)
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